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10
                              UNITED STATES DISTRICT COURT
11
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                       No. CR 23-cr-00599-MCS
14               Plaintiff,                          GOVERNMENT’S OPPOSITION TO
15                                                   DEFENDANT’S MOTION TO
                        v.
16                                                   DISMISS THE INDICTMENT
     ROBERT HUNTER BIDEN,
17
18               Defendant.
19
20         The United States of America, by and through its counsel of record, hereby
21   submits this opposition to the defendant’s motion to dismiss the indictment, contained in
22   “Defendant’s Notice of Pardon.” (ECF No. 236). The defendant’s motion should be
23   denied since there is no binding authority on this Court which requires dismissal.
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 1   Dated: December 2, 2024              Respectfully submitted,
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                                          /s/
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2         On December 1, 2024, media outlets reported that the President had issued a pardon
 3   for the defendant. Shortly thereafter, defense counsel filed “Defendant’s Notice of
 4   Pardon.” The defendant did not attach the pardon to its filing and the government has not
 5   received a copy of it. In that filing, defense counsel asserted, without any legal support
 6   that, “a Full and Unconditional Pardon [] requires dismissal of the Indictment against
 7   him,” and further that the pardon “requires an automatic dismissal of the Indictment with
 8   prejudice.” Notice at 1. Defense counsel misrepresents the law. Nothing requires the
 9   dismissal of the indictment in this case. In United States v. Steven Bannon, the defendant
10   moved to dismiss the indictment pending against him after receiving a presidential pardon.
11   The Government took the following position, which this opposition is consistent with:
12               The Government does not dispute that the pardon, which has been
13         docketed by the Court, see Dkt. No. 79, ends the prosecution as to Bannon
14         under Indictment 20 Cr. 412. However, the Government respectfully submits
15         that there is neither a need for an order dismissing the Indictment nor any
16         authority mandating such an outcome on these facts. Instead, the Government
17         submits that the Court can and should direct the Clerk of Court to terminate
18         Bannon as a defendant in this case and have the docket sheet reflect the
19         pardon as the disposition of his charges. If the Court is inclined to dismiss the
20         Indictment as to Bannon, the Government respectfully submits that any order
21         of dismissal should conform to the language and scope of the pardon.
22               While—as Bannon’s motion itself notes—courts have not acted
23         uniformly in ending a case against a pardoned defendant, there is no question
24         that the Court may simply terminate Bannon from the case based on the
25         docketed pardon. See, e.g., United States v. Urlacher, No. 20 Cr. 111 (N.D.
26         Ill. Feb. 8, 2021) (Dkt. No. 142) (terminating all motions and pending charges
27         as to a defendant pardoned prior to being convicted); United States v.
28         Golestaneh, No. 13 Cr. 160 (D. Vt. Jan. 19, 2016) (Dkt. No. 42) (docketing

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 1         a presidential pardon for a defendant who had not been sentenced and
 2         notating on the docket sheet that the case against the defendant had been
 3         “terminated” and charges were disposed of by “a full pardon granted”).
 4         Moreover, where courts have entered orders dismissing the indictment,
 5         including in many of the cases cited by Bannon, those orders have generally
 6         been entered with the consent of the Government and in cases involving
 7         single defendants. Those facts are obviously not present here, and to the
 8         contrary, the charges and forfeiture allegations remain pending as to the three
 9         co-defendants. Notwithstanding Bannon’s stated preference for an order of
10         dismissal, his motion neither cites to any controlling authority requiring such
11         a dismissal nor does he indicate why simply terminating him from the case
12         would be insufficient.
13   United States v. Bannon, No 20 Cr. 412 (AT), D.E. 106. Here, the Government does not
14   consent to dismissal.
15         The court in Bannon found that, “[n]either the Government nor Bannon has cited
16   authority binding on this Court as to whether the correct course is to ‘administratively
17   terminate’ Bannon, or to dismiss the Indictment against him.” Id. at D.E. 117. The court
18   further noted that “the majority of courts, when faced with such a decision, have chosen
19   to dismiss an indictment …” and, in that case, the court chose to do so. In addition to
20   citing decisions where a court chose to do so, the Bannon court also cited United States v.
21   Urlacher, No. 20 Cr. 11-8 (N.D. Ill. Feb. 8, 2021) where the indictment was not dismissed.
22   In that case, the court issued an order that said the following:
23         ORDER as to Casey Urlacher: In light of the Grant of Clemency filed on
24         February 5, 2021 (docket [139]) the Clerk is directed to: 1) terminate all
25         motions as to Casey Urlacher; and 2) administratively terminate all pending
26         charges against Casey Urlacher as January 19, 2021 pursuant to the Grant of
27         Clemency.
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 1   United States v. Urlacher, No. 20 Cr. 11-8 (N.D. Ill. Feb. 8, 2021), ECF 142. In United
 2   States v. Cartwright, a case like the present one where the defendant was pardoned after
 3   pleading guilty but before sentencing, the court issued a similar order that said the
 4   following:
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16   United States v. Cartwright, No. 16-188, (D.D.C. Jan. 25, 2017), D.E. 22. In neither case
17   was the indictment subsequently dismissed.
18         As a matter of past-practice in this district, courts do not dismiss indictments when
19   pardons are granted. See United States v. Bernadette Faustino, 19-121 (C.D.Ca.), United
20   States v. Stephen Lee Arrington, 82-910 (C.D.Ca.); United States v. Edward Casas, 00-
21   834 (C.D.Ca.); United States v. Ralph Allen Hoekstra, 04-934 (C.D.Ca.); United States v.
22   John Frederick McNeely, Jr., 70-6112 (C.D.Ca.); and United States v. Robert Warden, 72-
23   11484 (C.D.Ca.). Rather, in each of the most recent cases where pardons have been
24   granted by former President Obama and former President Trump, the United States
25   District Court for the Central District of California has not dismissed the indictment.
26   Instead, it has been the practice of this court that once an Executive Grant of Clemency
27   has been filed on the docket, the docket is marked closed, the disposition entry is updated
28   to reflect the executive grant of clemency, and no further action is taken by the Court.

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 1         The logic for why courts in this district, and in other districts, do not dismiss
 2   indictments following a grant of clemency is sound. The D.C. Circuit’s decision in United
 3   States v. Flynn, explains:
 4         As Chief Justice Marshall wrote, “[a] pardon is an act of grace, proceeding
 5         from the power intrusted with the execution of the laws, which exempts the
 6         individual on whom it is bestowed, from the punishment the law inflicts for
 7         a crime he has committed.” United States v. Wilson, 32 U.S. 150, 150, 7 Pet.
 8         150, 8 L.Ed. 640 (1833) (emphasis added). In other words, “a pardon does
 9         not blot out guilt or expunge a judgment of conviction.” In re North, 62 F.3d
10         at 1437. Furthermore, a pardon cannot “erase a judgment of conviction, or its
11         underlying legal and factual findings.” Arpaio, 2017 WL 4839072, at *1
12         (citing United States v. Crowell, 374 F.3d 790, 794 (9th Cir. 2004)); but see
13         Schaffer, 240 F.3d at 38 (vacating “all opinions, judgments, and verdicts of
14         this court and the District Court” where “[f]inality was never reached on the
15         legal question of [the defendant's] guilt” (emphasis added)).
16   507 F. Supp. 3d 116, 136 (D.D.C. 2020). Specifically, as to whether a pardon must, as the
17   defendant wrongly claims, result in the dismissal of an indictment, the D.C. Circuit’s
18   decision in In re North, explains why it does not:
19                An indictment establishes probable cause that the accused has
20         committed a crime. Guilt can be established only by a much higher standard,
21         proof beyond a reasonable doubt.
22                Because a pardon does not blot out guilt or expunge a judgment of
23         conviction, one can conclude that a pardon does not blot out probable cause
24         of guilt or expunge an indictment.
25   62 F.3d 1434, 1437 (D.C. Cir. 1994). In re North is particularly instructive. In that
26   case a defendant, Clair E. George, former CIA Deputy Director for Operations,
27   requested reimbursement for attorney fees she had incurred as a result of the
28   Iran/Contra investigation conducted by Independent Counsel Lawrence E. Walsh.

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 1   Id. at 1434. The Ethics in Government Act, which created the Independent Counsel,
 2   authorized the award of attorney’s fees but only if an individual were not indicted.
 3   After being indicted, George received a pardon from President George H.W. Bush
 4   and applied for a reimbursement of attorneys fees on that basis. In rejecting her
 5   claim, the D.C. Circuit held that “The pardon does not blot out guilt or expunge the
 6   indictment. Though pardoned, George’s disability—the fact of his indictment—
 7   remains, preventing the court from awarding him attorneys’ fees.” Id. at 1438. If a
 8   pardon did not “expunge the indictment” in that case, it should not do so here. The
 9   cases cited by the defendant in his filing do not explain why an indictment should
10   be dismissed following an act of clemency when the act of clemency terminates the
11   criminal case.
12         More broadly, there is no defect in the indictment or in the process that led to its
13   return that justifies dismissing it. First, it was returned by a lawfully constituted grand
14   jury that is an independent agency of the court. United States v. Williams, 504 U.S. 36,
15   48 (1992) (“The grand jury's functional independence from the Judicial Branch is evident
16   both in the scope of its power to investigate criminal wrongdoing and in the manner in
17   which that power is exercised.”). Second, the defendant filed eight (8) motions to dismiss
18   the indictment, making every conceivable argument for why it should be dismissed, all of
19   which were determined to be meritless. Of note, the defendant argued that the indictment
20   was a product of vindictive and selective prosecution. ECF 27. The Court rejected that
21   claim finding that “[a]s the Court stated at the hearing, Defendant filed his motion without
22   any evidence.” ECF 67 at 33. And there was none and never has been any evidence of
23   vindictive or selective prosecution in this case. The defendant made similar baseless
24   accusations in the United States District Court for the District of Delaware. Those claims
25   were also rejected. In explaining why, the Delaware court exposed the nonsensical nature
26   of the defendant’s selective prosecution claims:
27         To the extent that Defendant’s claim that he is being selectively prosecuted
28         rests solely on him being the son of the sitting President, that claim is belied

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 1         by the facts. The Executive Branch that charged Defendant is headed by that
 2         sitting President – Defendant’s father. The Attorney General heading the DOJ
 3         was appointed by and reports to Defendant’s father. And that Attorney
 4         General appointed the Special Counsel who made the challenged charging
 5         decision in this case – while Defendant’s father was still the sitting President.
 6         Defendant’s claim is effectively that his own father targeted him for being
 7         his son, a claim that is nonsensical under the facts here. Regardless of whether
 8         Congressional Republicans attempted to influence the Executive Branch,
 9         there is no evidence that they were successful in doing so and, in any event,
10         the Executive Branch prosecuting Defendant was at all relevant times (and
11         still is) headed by Defendant’s father.
12   United States v. Hunter Biden, Cr. No. 23-61-MN (D.DE. April 12, 2024) D.E. 99 at 8.
13   The court similarly found his vindictive prosecution claims unmoored from any evidence
14   or even a coherent theory as to vindictiveness:
15          Yet, as was the case with selective prosecution, the relevant point in time is
16         when the prosecutor decided to no longer pursue pretrial diversion and
17         instead indict Defendant. Whether former administration officials harbored
18         actual animus towards Defendant at some point in the past is therefore
19         irrelevant. This is especially true where, as here, the Court has been given no
20         evidence or indication that any of these individuals (whether filled with
21         animus or not) have successfully influenced Special Counsel Weiss or his
22         team in the decision to indict Defendant in this case. At best, Defendant has
23         generically alleged that individuals from the prior administration were or are
24         targeting him (or his father) and therefore his prosecution here must be
25         vindictive. The problem with this argument is that the charging decision at
26         issue was made during this administration – by Special Counsel Weiss – at a
27         time when the head of the Executive Branch prosecuting Defendant is
28         Defendant’s father. Defendant has offered nothing credible to support a

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 1          finding that anyone who played a role in the decision to abandon pretrial
 2          diversion and move forward with indictment here harbored any animus
 3          towards Defendant. Any claim of vindictive prosecution based on actual
 4          vindictiveness must fail.
 5   Id. at 17.
 6          The defendant appealed the denial of his motions in this case to the Ninth Circuit
 7   and his denial of his motions in the District of Delaware case to the Third Circuit. See
 8   United States v. Robert Hunter Biden, 24-2333, Doc. No 16.1 (9th Cir., May 14, 2024)
 9   (order dismissing appeal by Judge William Canby, Judge Atsushi Tashima, and Judge
10   Lucy Koh); United States v. Robert Hunter Biden, 24-1703, Doc. No. 17-1 (3rd Cir., May
11   9, 2024) (order dismissing appeal by Judge Patty Shwartz, Judge Cindy Chung, and Judge
12   D. Brooks Smith); United States v. Robert Hunter Biden, 24-1938, Doc. No. 16-2 (3rd
13   Cir., May 28, 2024) (order dismissing appeal by Judge Thomas M. Hardiman, Judge
14   Cheryl Krause, and Judge Arianna Freeman). In total, eleven (11) different Article III
15   judges appointed by six (6) different presidents, including his father, considered and
16   rejected the defendant’s claims, including his claims for selective and vindictive
17   prosecution.
18          The defendant pled guilty to all the charges in the indictment on September 5, 2024.
19   According to the declaration filed on his behalf, the defendant again acknowledged his
20   guilt in accepting the act of clemency. ECF 236-1; see Burdick v. United States, 236 U.S.
21   79, 94 (1915) (“[A pardon] carries an imputation of guilt; acceptance a confession of it.”).
22          As stated above, the defendant did not docket the pardon nor has the government
23   seen it. If media reports are accurate, the Government does not challenge that the
24   defendant has been the recipient of an act of mercy. But that does not mean the grand
25   jury’s decision to charge him, based on a finding of probable cause, should be wiped away
26   as if it never occurred. It also does not mean that his charges should be wiped away
27   because the defendant falsely claimed that the charges were the result of some improper
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 1   motive. No court has agreed with the defendant on these baseless claims, and his request
 2   to dismiss the indictment finds no support in the law or the practice of this district.
 3         For the foregoing reasons, the defendant’s motion to dismiss the indictment should
 4   be denied.
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